
USCA1 Opinion

	










          June 16, 1995         [NOT FOR PUBLICATION]
                                [NOT FOR PUBLICATION]

                            UNITED STATES COURT OF APPEALS
                                FOR THE FIRST CIRCUIT

                              _________________________

          No. 95-1162

                                     PAUL LITTLE,

                                Petitioner, Appellant,

                                          v.

                      MICHAEL CUNNINGHAM, WARDEN, ETC., ET AL.,

                               Respondents, Appellees.

                              _________________________

                     APPEAL FROM THE UNITED STATES DISTRICT COURT

                          FOR THE DISTRICT OF NEW HAMPSHIRE

                [Hon. Martin F. Loughlin, Senior U.S. District Judge]
                                          __________________________

                              _________________________

                                        Before

                                Selya, Circuit Judge,
                                       _____________

                           Campbell, Senior Circuit Judge,
                                     ____________________

                               and Cyr, Circuit Judge.
                                        _____________

                              _________________________

               Paul  J. Twomey, with whom Twomey &amp; Sisti Law Offices was on
               _______________            __________________________
          brief, for appellant.
               Joseph  N. Laplante, Assistant  Attorney General,  with whom
               ___________________
          Jeffrey R. Howard, Attorney General, was on brief, for appellees.
          _________________

                              _________________________

                              _________________________





















                    SELYA, Circuit Judge.  Petitioner-appellant Paul Little
                    SELYA, Circuit Judge.
                           _____________

          asked  the federal  district court  to invoke  its habeas  corpus

          powers, 28 U.S.C.     2241-2254 (1988), and set aside  a sentence

          imposed in a New Hampshire state court.

                    The  historical  facts  are  largely  undisputed.   The

          parties entered into  an agreement  for a "naked  plea," i.e.,  a
                                                                   ____

          guilty  plea  that  would  merit  a  mutually  agreed  sentencing

          recommendation by  the prosecutor without purporting  to bind the

          sentencing  court  to  accept  the  recommendation.    The  state

          initially  failed  to  make  the agreed  recommendation  and  the

          superior court levied a more severe sentence.  On appeal, the New

          Hampshire  Supreme Court  vacated the  sentence.   Petitioner was

          resentenced before a  different judge, and  a prosecutor who  was

          new  to the  case  represented the  state  at resentencing.    In

          petitioner's  view, she  gave  mere lip  service  to the  state's

          promise and thereby  deprived petitioner    who again received  a

          stiffer sentence  than the state  had agreed to suggest    of due

          process.    When petitioner  appealed,  the  state supreme  court

          refused to set the sentence aside.  This habeas corpus proceeding

          followed.  The gravamen  of Little's petition is his  charge that

          the  state, having  agreed  to recommend  a specific  sentence in

          exchange for petitioner's guilty  plea, effectively subverted the

          bargain.

                    We share  petitioner's major premise:   the Due Process

          Clause  proscribes  not  only   the  explicit  repudiation  of  a

          prosecutor's assurances  to the defendant, but  also forbids end-


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          runs  around those  assurances.    See,  e.g., United  States  v.
                                             ___   ____  ______________

          Canada,  960 F.2d 263, 269-70  (1st Cir. 1992);  United States v.
          ______                                           _____________

          Brown, 500 F.2d  375, 377-78  (4th Cir. 1974);  United States  v.
          _____                                           _____________

          Voccola, 600  F. Supp.  1534, 1537  (D.R.I. 1985); see  generally
          _______                                            ___  _________

          Santobello v. New  York, 404 U.S. 257, 262 (1971).   We disagree,
          __________    _________

          however, with  petitioner's conclusion  that  the state  violated

          this tenet on resentencing.

                    We will not tarry.  The district court, in a thoughtful

          rescript,  declined to issue the writ.  See Little v. Cunningham,
                                                  ___ ______    __________

          No.  C-94-523-L (D.N.H.  Dec.  29,  1994).   We  have  previously

          stated, and today reaffirm, that when a district judge produces a

          well-reasoned  opinion   that  reaches  the   correct  result,  a

          reviewing tribunal should not  rush to write at length  merely to

          put  matters in its own words.   See, e.g., In re San Juan Dupont
                                           ___  ____  _____________________

          Plaza  Hotel Fire Litig., 989 F.2d 36, 38 (1st Cir. 1993).  So it
          ________________________

          is here.  Consequently, we affirm  the district court's dismissal

          of petitioner's habeas application for  substantially the reasons

          set forth in that court's rescript.

                    We add  only a decurate comment.   The jurisprudence of

          habeas  corpus  demands that  a  federal  court cede  substantial

          deference  to the state courts' subsidiary findings of fact.  See
                                                                        ___

          28 U.S.C.   2254(d)  (stipulating presumption of correctness that

          attaches  to  state  court  findings of  fact  in  federal habeas

          proceedings);  see also  Miller v.  Fenton, 474 U.S.  104, 112-15
                         ___ ____  ______     ______

          (1985).   The  issue that  petitioner raises  here    whether the

          second  prosecutor, although mouthing  the agreed recommendation,


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          simultaneously subverted it    is peculiarly fact-sensitive.  The

          record,   interpreted  one   way,   is   capable  of   supporting

          petitioner's view.   But interpreted  another way, the  record is

          equally  capable of supporting the  state courts' findings.  Both

          interpretations  are  reasonable.    Neither   interpretation  is

          compelled.  That ends the matter:   where, as here, the record in

          a  habeas  case  supports  plausible  but  conflicting  factbound

          inferences, we think  that the state courts' choice  between them

          is  entitled to  the presumption  of correctness.   See  Neron v.
                                                              ___  _____

          Tierney,  841  F.2d  1197,  1200  (1st  Cir.)  (holding  that the
          _______

          presumption  of correctness  "attaches  in full  flower" where  a

          state court's  factual determinations are  "`fairly supported  by

          the record'") (quoting 28 U.S.C.   2254(d)(8)), cert. denied, 488
                                                          _____ ______

          U.S. 832 (1988).

                    We need go no further.  The judgment below must be



          Affirmed.
          Affirmed.
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